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                              Exhibit 2
            Case
5/21/22, 10:20 PM   4:20-cv-00447-ALM Yahoo
                                      Document       65-2 v.Filed
                                            Mail - Huddleston       05/21/22Motion
                                                              DOJ (4:20CV447)   Page     2Briefing
                                                                                   to Stay of 2 PageID
                                                                                                   Schedule #: 2466




     Huddleston v. DOJ (4:20CV447) Motion to Stay Briefing Schedule

     From: Parker, Andrea (USATXE) (andrea.parker@usdoj.gov)

     To:    tyclevenger@yahoo.com

     Date: Wednesday, February 23, 2022, 03:33 PM EST



     Hey Ty –



     As I emailed before, FBI is willing to conduct two additional searches in light of your challenges to the adequacy of FBI’s
     search. I am going to ask the Court for a stay of the briefing schedule for 30 days to perform the searches, at which
     point we will file a status report detailing the search results. I will either propose a production schedule for any
     responsive records, or ask that the briefing schedule be reinstated if no records are found. If you continue to challenge
     the adequacy of the search, you can certainly continue to address that in briefing, as well as continue to request in
     camera review of the documents. We do not agree to in camera inspection at this time. The two searches will be limited
     to the searches of the FBI’s Counterintelligence Division and the FBI’s Operational Technology Division, to include the
     Data Intercept Technology Unit. I do not know the exact details of those searches, but FBI will certainly prepare a new
     declaration detailing the new searches. Again, if you continue to challenge the adequacy of the FBI’s searches after the
     two new searches, you can continue to address that in briefing. But it is our hope that these new searches will address
     many of your concerns and simplify the issues pending before the Court.



     I’m attaching a draft of my motion to stay, which I plan to file in the morning. Please let me know if you are opposed.



     BRIT FEATHERSON
     UNITED STATES ATTORNEY


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